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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                                          Chapter 11

 ZACHRY HOLDINGS, INC., et al.,                           Case No. 24-90377 (MI)

 Debtors.


 FLNG LIQUEFACTION, LLC;                         §
 FLNG LIQUEFACTION 2, LLC; and                   §
 FLNG LIQUEFACTION 3, LLC,                       §
                                                 §
 Plaintiffs,                                     §
                                                 §
 v.                                              §     Adversary No. 24-03195
                                                 §
 CB&I INC.;                                      §
 ZACHRY INDUSTRIAL, INC.; and                    §
 CHIYODA INTERNATIONAL                           §
 CORPORATION,                                    §
                                                 §
 Defendants.                                     §

                      PLAINTIFFS’ FIRST AMENDED COMPLAINT

          FLNG Liquefaction, LLC; FLNG Liquefaction 2, LLC; and FLNG Liquefaction 3, LLC

file this First Amended Complaint against CB&I Inc.; Zachry Industrial, Inc.; and Chiyoda

International Corporation, respectfully showing as follows.

                               I.    PRELIMINARY STATEMENT

          1.    Plaintiffs contracted with Defendants under fixed price, turnkey, engineering,

procurement, and construction agreements for the construction of a natural gas liquefaction and

liquified natural gas (“LNG”) export facility, the details of which are discussed below. Plaintiffs

have recently discovered significant defects in the performance of Defendants’ work that has

caused major damage to key equipment at the LNG facility resulting in substantial repair costs,


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the shut-down of operations, and other damages. Plaintiffs file this action to recover all damages

caused by Defendants failure to comply with their contractual obligations.

                                         II.   PARTIES

        2.        Plaintiff FLNG Liquefaction, LLC (“FLIQ1”) is a Delaware limited liability

company with its principal place of business in Houston, Texas.

        3.        Plaintiff FLNG Liquefaction 2, LLC (“FLIQ2”) is a Delaware limited liability

company with its principal place of business in Houston, Texas.

        4.        Plaintiff FLNG Liquefaction 3, LLC (“FLIQ3”) is a Delaware limited liability

company with its principal place of business in Houston, Texas.

        5.        Defendant CB&I Inc. (“CB&I”) is a Texas corporation with its principal place of

business in Houston, Texas. CB&I has been served with process and has entered an appearance

in this action.

        6.        Defendant Zachry Industrial, Inc. (“Zachry”) is a Delaware corporation with its

principal place of business in San Antonio, Texas. Zachry has been served with process and has

entered an appearance in this action.

        7.        Defendant Chiyoda International Corporation (“Chiyoda”) is a Washington

corporation with its principal place of business in Houston, Texas. Chiyoda has been served with

process and has entered an appearance in this action.

                                 III.   JURISDICTION & VENUE

        8.        Venue is proper in this Court because the agreements at issue provide that each

party “irrevocably submits to the exclusive jurisdiction of any Federal court or Texas state court

sitting in Houston, Texas.”

        9.        This Court has subject matter jurisdiction over this dispute under 28 U.S.C.



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1334(b).

       10.     This Court has personal jurisdiction over Defendants because they are citizens of

Texas by virtue of having their principal places of business in Texas. Further, Defendants conduct

business in Texas, including but not limited to, by entering into contractual relationships and

performing work in Texas and maintaining offices and employees in Texas. Defendants have

purposefully availed themselves of the benefits and protections of the State of Texas by

establishing minimum contacts here, and this Court’s exercise of jurisdiction over Defendants does

not offend traditional notions of fair play and substantial justice. Further, Defendants have

consented to personal jurisdiction in this Court.

                               IV.     FACTUAL BACKGROUND

A.     Freeport LNG’s Quintana Island Facility

       11.     Freeport LNG Development, L.P. (“Freeport LNG”) is one of the first and largest

exporters of LNG.     With its joint venture partners, Freeport LNG owns and operates an LNG

facility located on Quintana Island near Freeport, Texas (the “LNG Facility”).

       12.     The LNG Facility was previously an LNG import and regasification facility (the

“Regas Facility”) featuring two 160,000 cubic meter LNG storage tanks, a marine dock that could

accommodate the largest LNG tankers in service, and an LNG vaporization system capable of

producing over 2 billion cubic feet (Bcf) of gas per day. Construction on the Regas Facility started

in 2005, and commercial operations began in 2008. However, by the time the import terminal

commenced operations in 2008, the North American natural gas industry had begun to experience

a sea change—the shale gas revolution.

       13.     In 2010, to take advantage of excess domestic natural gas reserves due primarily to

improvements in extracting gas from shale, Freeport LNG began a project to transform the Regas



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Facility from an import terminal into a natural gas liquefaction and LNG export facility (as defined

above, the “LNG Facility”).

         14.    LNG is natural gas that is super-cooled to transform it from a gaseous state into a

liquid for ease and safety of non-pressurized storage and transport. Natural gas is converted to a

liquid in a liquefaction plant that performs a sequence of processes, which is often referred to as

“liquefying” the natural gas. This liquefaction process takes place in processing units that are

often referred to as “trains.”

         15.    The LNG Facility, which currently has three liquefaction processing units, or trains,

is the first world-scale electric-powered LNG plant in North America. Train 1 was commissioned

and began commercial operations in December 2019. Train 2 and Train 3 commenced operations

in January and May 2020, respectively. When operating at full capacity, the output from the

Facility’s three liquefaction trains is enough to decrease the United States trade deficit by 1-2%

alone.

         16.    Each liquefaction train at the LNG Facility uses three General Electric 75 MW

motors that power three propane and mixed-refrigerant compressors. The electric motors used at

the LNG Facility were selected to allow Freeport LNG to comply with strict local air emissions

standards and meet its production and export targets.

B.       The EPC Contracts

         17.    FLIQ1, FLIQ2, and FLIQ3 are affiliates of Freeport LNG.

         18.    FLIQ1 developed the first LNG train (“Train 1”). FLIQ2 developed the second

LNG train (“Train 2”), and FLIQ3 developed the third LNG train (“Train 3”).

         19.    FLIQ1 and FLIQ2 selected CB&I and Zachry, through a joint venture arrangement,

to provide all engineering, procurement, construction, pre-commissioning, commissioning, start-



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up and testing services for Train 1 and Train 2 on a fixed price, turnkey basis.

       20.     On December 10, 2013, FLIQ1 entered into a Fixed Price Separated Turnkey

Agreement with CB&I and Zachry for the Engineering, Procurement and Construction of the

Freeport Train 1 Liquefaction Project (“Train 1 EPC Contract”).

       21.     Also on December 10, 2013, FLIQ2 entered into a Fixed Price Separated Turnkey

Agreement with CB&I and Zachry for the Engineering, Procurement and Construction of the

Freeport Train 2 Liquefaction Project (“Train 2 EPC Contract”).

       22.     FLIQ3 selected CB&I, Zachry and Chiyoda, through a joint venture arrangement,

to provide engineering, procurement, construction, pre-commissioning, commissioning, start-up

and testing services for Train 3 on a fixed price, turnkey basis.

       23.     On March 24, 2015, FLIQ3 entered into a Fixed Price Separated Turnkey

Agreement with CB&I, Zachry, and Chiyoda for the Engineering, Procurement and Construction

of the Freeport Train 1 Liquefaction Project (“Train 3 EPC Contract”).

       24.     The pertinent provisions of the Train 1 EPC Contract, Train 2 EPC Contract, and

Train 3 EPC Contract are virtually identical and are referred to collectively in this Complaint as

the EPC Contracts. CB&I, Zachry, and Chiyoda, as applicable, are referred to in the EPC

Contracts collectively as “Contractor,” and will be collectively referred to as “Contractor” in this

Complaint.

C.     Defendants’ Obligations Under the EPC Contracts

       25.     The EPC Contracts establish Contractor’s substantive performance standards for

the Work. Those substantive performance standards applied to Contractor, as well as each

subcontractor it utilized to perform the Work.        Further, Defendants agreed to perform all

engineering, design, procurement, manufacturing, and fabrication work for Trains 1, 2, and 3 in



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accordance with applicable codes and standards and in accordance with good engineering and

construction practices.

       26.     Defendants and Plaintiffs acknowledged that subcontractors would be utilized by

Defendants to assist them in the completion of the Work, and that Defendants would be fully

responsible for the subcontractors. Specifically, Section 2.3 of the EPC Contracts state:

       “Owner acknowledges and agrees that Contractor intends to have portions of the
       Work accomplished by Subcontractors pursuant to written Subcontracts between
       Contractor and such Subcontractors … The provisions of any Subcontract or Sub-
       subcontract shall not relieve Contractor of any obligations to perform the Work or
       of its responsibility for each Subcontractor or Sub-subcontractor … Contractor
       shall be fully responsible to Owner for the acts and omissions of Subcontractors
       and Sub-subcontractors and of Persons directly or indirectly used by any of them,
       as Contractor is for the acts or omissions of Persons directly employed by
       Contractor in the performance of the Work.” (emphasis added).

       27.     Specifically, Section 2.5C of the EPC Contracts provides that:

       “Contractor shall perform the Work in accordance with Applicable Law and
       Applicable Codes and Standards, whether or not such Applicable Law or
       Applicable Codes and Standards came into effect before the Effective Date or
       during the performance of the Work.” (emphasis added).

       28.     Section 3.1A of the EPC Contracts provides that:

       “the Work shall be performed on a turnkey basis and shall include all engineering,
       procurement, construction, pre-commissioning, start-up and testing of the Train [1,
       2, and 3] Expansion, all Equipment, construction equipment (including materials,
       apparatus, structures, supplies, tools, machinery, equipment and scaffolding), spare
       parts, labor, workmanship, inspection, manufacture, fabrication, installation,
       design, delivery, transportation, storage, training of Owner’s operations and
       maintenance personnel and all other items or tasks that are set forth in Attachment
       A, or otherwise required to achieve RFSU, RLFC, Substantial Completion and
       Final Completion of the Train 3 Expansion in accordance with the requirements of
       this Agreement, including achieving the Minimum Acceptance Criteria and
       Performance Guarantees.” (emphasis added).

       29.     Section 3.1A of the EPC Contracts further provides that:

       “Contractor shall perform the Work in accordance with GECP, Applicable Law,
       Applicable Codes and Standards, and all other terms and provisions of this
       Agreement.” (emphasis added).


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       30.    The EPC Contracts define “Good Engineering and Construction Practices” or

“GECP” as:

       “the generally accepted reasonable and prudent practices, methods, skill, care,
       techniques and standards employed by the liquefied natural gas engineering and
       construction industries with respect to: (i) the engineering, procurement,
       construction, pre-commissioning, commissioning, testing and start-up of LNG
       storage facilities, natural gas treatment facilities and natural gas liquefaction
       facilities, all in conformance with Applicable Codes and Standards, Applicable
       Law, and the standards recommended by the suppliers and manufacturers of
       Equipment provided hereunder; (ii) personnel and facility safety and environmental
       protection; (iii) efficient scheduling of the Work; and (iv) the reliability and
       availability of the Facility under the operating conditions reasonably expected at
       the Site, as specified in Attachment A.” (emphasis added).

       31.    Section 3.2A of the EPC Contracts provides that Contractor’s specific obligations

include to “procure, supply, transport, handle, properly store, assemble, erect and install all

Equipment.” (emphasis added).

       32.    Section 3.2B of the EPC Contracts provides that Contractor’s specific obligations

include to:

        “provide construction, construction management (including the furnishing of all
       field supplies, tools, construction equipment, and all Site supervision and craft
       labor), civil/structural, electrical, instrumentation, field design, inspection and
       quality control services required to ensure that the Work is performed in
       accordance herewith.” (emphasis added).

       33.    In addition to Section 2.3 of the EPC Contracts clearly stating that Defendants are

fully responsible for the actions and omissions of their subcontractors, Section 3.2D of the EPC

Contracts requires that the Contractor “perform shop and other inspections of the work of

Subcontractors and Sub-subcontractors to ensure that such work meets all of the requirements of

this Agreement.” (emphasis added). Further, § 3.18 and Attachment EE of the EPC Contracts

obligate the Contractor to ensure that Equipment is subject to robust quality control, quality

assurance and inspection requirements.



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       34.     Section 3.2R of the EPC Contracts requires that the Contractor “perform, or cause

to be performed, all design and engineering Work in accordance with this Agreement, including

that specified in Section 3.3.” (emphasis added).

       35.     Section 3.3A of the EPC Contracts provides that:

        “Contractor shall, as part of the Work, perform, or cause to be performed, all
       design and engineering Work in accordance with this Agreement and cause the
       Work to meet and achieve the requirements of this Agreement, including achieving
       the Minimum Acceptance Criteria and Performance Guarantees.” (emphasis
       added).

       36.     The phrasing in Section 3.2R and 3.3A noting “Contractor shall … cause to be

performed” clearly indicates that Defendants were obligated to ensure Work performed by

subcontractors meet the design and engineering requirements of the Agreement.

       37.     Section 3.3C(6) of the EPC Contracts provides that:

       “Owner’s review or approval of any Drawings and Specifications (or Owner’s lack
       of comments or written approval thereof) shall not in any way be deemed to limit
       or in any way alter Contractor’s responsibility to perform and complete the Work
       in strict accordance with the requirements of this Agreement, and in the event that
       there is a discrepancy, difference or ambiguity between the terms of this
       Agreement and any Drawings and Specifications, the interpretation imposing the
       greater obligation on Contractor shall control.” (emphasis added).

       38.     Section 3.3D of the EPC Contracts provides that:

       “Contractor shall perform, or cause to be performed, all design and engineering
       work in accordance with Applicable Law and Applicable Codes and Standards,
       and all Drawings, Specifications and design and engineering Work shall be signed
       and stamped by design professionals licensed in accordance with Applicable Law.”
       (emphasis added).

       39.     Section 8.2B of the EPC Contracts provides that Contractor remains responsible for

breaches of its obligations under the EPC Contracts following Substantial Completion:

       “As between Owner and Contractor, Owner shall bear the risk of physical loss and
       damage to the Train [1, 2, and 3] Expansion and each component thereof … after
       Substantial Completion of the Train [1, 2, and 3] Expansion is achieved….
       Notwithstanding the foregoing, under no circumstances shall this Section 8.2B be
       interpreted to relieve Contractor of its obligations or liabilities under this

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       Agreement, including its obligations with respect to Defective Work and
       Corrective Work and its obligations under Section 20.1 and under Section 2.B of
       Attachment O.” (emphasis added).

       40.    Section 12 of the EPC Contracts establishes Contractor’s Warranties for its Work.

Specifically, under Section 12.1B of the EPC Contracts, Contractor warrants that the Work

“including Equipment, and each component thereof” shall be:

       “1. new, complete, and of suitable grade for the intended function and use in
       accordance with this Agreement;” “2. in accordance with all of the requirements
       of this Agreement, including in accordance with GECP, Applicable Law and
       Applicable Codes and Standards;” and “4. free from defects in design, material
       and workmanship.” (emphasis added).

       41.    39.41. Consistent with Defendants’ obligations under Section 2.3 of the EPC

Contractors, Section 12.1C of the EPC Contracts provides:

        “Contractor shall, without additional cost to Owner, use all commercially
       reasonable efforts to obtain warranties from Subcontractors and Sub-subcontractors
       that meet or exceed the requirements of this Agreement; provided, however,
       Contractor shall not in any way be relieved of its responsibilities and liability to
       Owner under this Agreement, regardless of whether such Subcontractor or Sub-
       subcontractor warranties meet the requirements of this Agreement, as Contractor
       shall be fully responsible and liable to Owner for its Warranty and Corrective
       Work obligations and liability under this Agreement for all Work.” (emphasis
       added).

       42.    Section 12.1C of the EPC Contracts further provides:

        “All such [Subcontractor and Sub-subcontractor] warranties shall be deemed to
       run to the benefit of Owner and Contractor. Such warranties, with duly executed
       instruments assigning the warranties to Owner, shall be enforceable by Owner
       upon Substantial Completion. All warranties provided by any Subcontractor or
       Sub-subcontractor shall be in such form as to permit direct enforcement by
       Contractor or Owner against any Subcontractor or Sub-subcontractor whose
       warranty is called for.” (emphasis added).

       43.    Section 12.1C of the EPC Contracts also establishes that:

        “Contractor is jointly and severally liable with such Subcontractor or Sub-
       subcontractor with respect to such Subcontractor or Sub-subcontractor warranty.”




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       44.     Section 12.3 of the EPC Contracts establishes Contractor’s obligation to perform

Corrective Work during the Defect Correction Period, which is defined as the 18-month period

following Substantial Completion. However, Section 12.3D of the EPC Contracts makes clear

that Contractor remains responsible to Owner for failures to comply with its Warranties under the

EPC Contracts:

       “Nothing contained in this Section 12.3 shall be construed to establish a period of
       limitation with respect to other obligations which Contractor might have under the
       Agreement. Establishment of the Defect Correction Period relates only to the
       specific obligation of Contractor to perform Corrective Work, and has no
       relationship to the time within which the obligation to comply with this
       Agreement may be sought to be enforced, nor to the time within which
       proceedings may be commenced to establish Contractor’s liability with respect to
       Contractor’s obligations other than specifically to perform Corrective Work.”
       (emphasis added)

D.     Defects in the Trains’ Motors

       45.     On January 17, 2024, the Train 3 Propane Compressor 75 MW Motor (“75 MW

Motor”) tripped and remained offline, despite several attempts to restart it. Initial investigations

indicated that the likely cause of the trip was an electrical fault within a non-accessible portion of

the 75 MW Motor. A subsequent root cause analysis (“RCA”) determined that the direct cause of

the 75 MW Motor failure was an electrical short caused by loose hardware (bolts, nuts and

washers) within the 75 MW Motor that dislodged from a protective panel where they were installed

and fell into the 75 MW Motor windings.

       46.     Specifically, the RCA identified the following root causes of the loose hardware:

                   a. Deficient bolt/washer/nut retention assembly design: Design was not in
                      accordance with manufacturer recommendations or Good Engineering and
                      Construction Practices (“GECP”). Specifically, locking nuts were not used
                      to ensure that the hardware remained tightened in place within the 75 MW
                      Motor during normal operations within vibration integrity
                      limits. Additionally, Nord-Lock washers were placed on only one side of
                      the bolt step up, which we understand is not in accordance with



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                       manufacturer recommendations that require a Nord-Lock washer on both
                       the bolt and nut sides for proper fastening.

                   b. Inadequate quality assurance/quality control during assembly: There was
                      defective workmanship during assembly, including the use of improper
                      parts, as well as differing metals for similar parts. For example, bolt
                      assembly components in the 75 MW Motor were a mixture of stainless steel
                      and carbon steel parts, and a large shim washer was found within the 75
                      MW Motor and is not an approved material in the bill of materials, nor is
                      the use of shim washers part of the proper design of the bolt assembly. In
                      addition, multiple bolts were identified as being inadequately torqued.

       47.     Similar defects have been identified in two other Train 3 motors, which will also

require repairs.

       48.     The RCA identified a separate Defect in the 75 MW motor that also requires repair

in order to prevent premature failure in the future. Specifically, significant partial discharge was

found on the cable bundles going from the stator to the motor termination boxes in the 75 MW

motor. The cause of the discharge was determined to be the excessive length of the cables and the

increased bend radius of the cabling. Cable sheath and insulation damage due to excess partial

discharge was also found in the other Train 3 motors, requiring repairs to all three Train 3 motors

before they could be placed back into service.

       49.     The same 75 MW Motor are utilized in Trains 1 and 2 of the LNG Facility. Given

the prevalence of the Defects in the Train 3 motors, Plaintiffs believed that it was likely that the

motors in Trains 1 and 2 are affected by the same Defects.

       50.     As a result, Plaintiffs implemented enhanced monitoring of Trains 1 and 2 and

planned to perform inspections of Trains 1 and 2 after the repairs to Train 3 were completed.

However, the enhanced monitoring performed on the Train 1 and 2 motors identified an increase

in partial discharge and current abnormalities in one of the Train 2 motors. As such, Train 2 was

taken offline for inspection prior to the completion of the repairs to Train 3.

       51.     Inspections of the Train 2 motors revealed additional workmanship issues, even

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moreso than those found in the inspections of the Train 3 motors. Not only did all 6 bolt assemblies

dislodge from the protective micarta panel (as they did in the damaged Train 3 motor), but the

micarta panel itself partially separated due to an approximately two-foot long bolt assembly

dislodging from the underside of the panel. While one of the two-foot long bolt assemblies

remained in place, the other bolt assembly became fully dislodged from the protective panel and

appears to have dropped into the rotor portion of the motor and sheared into numerous smaller

pieces (which caused additional damage to the motor internals).

        52.    The inspection of the Train 2 motor also identified substantial damage to the

insulation on the motor’s stator. The preliminary boroscope inspection of Train 2’s 12K-31 motor

identified that some bolt assemblies have dislodged from the micarta panels.

        53.    Given the extent of the faulty workmanship and poor condition of the bolt

assemblies and cabling supports identified in Train 2, Plaintiffs made the decision to take Train 1

offline immediately to mitigate any possibility of damage to the Train 1 motors.

E.      Contractor’s Gross Negligence in Connection with the Motor Defects

        54.    On December 19, 2023, Defendants issued their “Engineering Evaluation Letter”

for the Main Refrigerant Compressors.        In the Engineering Evaluation Letter, Defendants

acknowledged awareness of the possibility of problems during manufacturing due to the motors’

size:

        As demonstrated by the information mentioned elsewhere in this report, the electric
        drives, drive motors, and drive transformers will be among the largest ever built
        for these services. Accordingly, there is some possibility that problems will occur
        during manufacturing or testing….

        These drives are not only large; they are also non-linear electrical loads which
        present serious power system challenges even when such loads are relatively
        small.

(emphasis added).


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        55.    Additionally, the Conclusions in Defendants’ December 19, 2023 Engineering

Evaluation Letter recognized the serious challenges presented by the complexity of the drive

equipment and that Defendants must actively manage those risks:

        A job of this complexity and “first-of-a-kind” challenges must be executed
        carefully and with more technical due diligence than is typical for projects with
        more conventional drive designs. Otherwise, critical issues may be overlooked or
        inadequately addressed.

        These are all serious considerations that must be carefully managed in an
        aggressive and disciplined way going forward; and the support of ZCJV upper
        management may be required to facilitate some of this, especially with regard to
        elevating the involvement of Centerpoint.

(emphasis added).

        56.    Each of the three trains uses three 75 MW motors, and each motor in turn powers

three propane and mixed-refrigerant compressors. The motors are massive and, as Defendants

acknowledged, were among the largest to ever be built. As a result, defects in the motors like

those experienced at the LNG Facility necessarily involved an extreme degree of risk, considering

the probability and magnitude of the potential harm to others who would be working at the LNG

Facility.

        57.    Moreover, as evidenced by their Engineering Evaluation Letter, Defendants had the

subjective awareness of the potential for problems during the manufacture of the motors due to

their massively large size well before the manufacturing process even began. Defendants were

also subjectively aware that the size and complexity of the drive equipment presented “first-of-a-

kind” challenges that must be “carefully managed in an aggressive and disciplined way.”

        58.    The subjective awareness of those risks would and should have caused a reasonably

prudent EPC Contractor to implement adequate inspections, quality assurance and quality control

procedures pursuant to Good Engineering and Construction Practices to safeguard against those



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risks. In wanton disregard for their obligations under the EPC Contracts, Defendants failed to

implement such procedures.

       59.     Instead, two months later in their February 14, 2014 letter, Defendants informed

Plaintiffs that they had “determined both [GE and Siemens] vendors demonstrated overall

technical acceptability for supply of the equipment for the FLNG Liquefaction Project.” And

while Defendants recommended Siemens as the Main Refrigerant Compressor equipment vendor,

they did so primarily due to Siemens’ lower total cost and improved annual electrical usage.

       60.     On March 27, 2014, the parties entered into a change order to increase the Contract

Price by $5,956,090 to compensate Defendants for the increased costs of the GE motors. The

change order did not otherwise impact Defendants liability or obligations under the EPC Contracts.

       61.     Defendants failed to adequately review the design for the motors and identify the

bolt assembly design defect described above. The manufacturer of the Nord lock washers

recommended that washers be installed on both the bolt and nut side of the assembly. However,

locking washers were only used on one side of the bolt. A simple review of the design would have

identified that design defect. However, Defendants’ failure to review the design directly resulted

the bolts coming loose, falling out, and damaging the motors, as depicted below:




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        62.    Likewise, Defendants failed to implement adequate quality assurance and quality

control procedures to identify and prevent poor workmanship during the manufacture of the

motors. Insufficient torquing of the bolts could and should have been identified by adequate

quality assurance and quality control procedures due to the obvious lack of torque markings on the

nuts.

        63.    Further, the motors were manufactured using irregular parts and non-specified

materials. In fact, the workmanship was so sloppy that a large interior diameter washer was found

inside one of the motors being used as “shim” washer. Further, dissimilar metals were found to

be used on the nut-bolt systems (e.g., carbon steel components improperly being mixed with

stainless steel components). If Defendants had performed shop inspections during fabrication,

these obvious defects could and would have been identified and corrected.

        64.    The motors were fabricated off-site and delivered to the Project site as intact units.

The motor casings were not scheduled to be opened for the motors to be serviced until

approximately nine years after installation. As a result, adequate shop inspections by Defendants

represented the only opportunity to discover and correct these defects before the motors were put

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into service. Due to the conscious indifference of Defendants, the motor defects were not

identified before the motors were installed at the LNG Project.

       65.     As discussed above, the motor defects were not isolated issues, but rather systemic

and pervasive defects in the bolt assemblies and cabling supports impacting all nine 75 MW motors

in all three Trains at the LNG Facility. And despite Defendants’ subjective awareness of the risks

of problems during the fabrication of the motors, Defendants failed to implement adequate

inspections, and quality assurance and quality control procedures in conscious indifference to

Plaintiffs’ rights under the EPC Contracts and in conscious indifference to the safety and welfare

of those operating the LNG Facility.

       66.     Further, as agreed upon in Section 2.3 of the EPC Contracts, Defendants are fully

responsible for the acts and omissions of their subcontractors. The gross indifference by which

General Electric designed and manufactured the motors, particularly as to the defective nut-bolt

assemblies, lack of proper torquing, the improper use of unspecified materials (e.g., the shim

washer), the improper use of dissimilar metals (e.g., mixing stainless steel and carbon steel

components) and the excessive cable lengths and bend radii, are all clear indications of the grossly

negligent acts of General Electric, which are contractually imputed to the Defendants.

       67.     Additional information regarding the gross negligence of Defendants and General

Electric relating to the design, manufacturing and installation specifications that were supposed to

be utilized in the design, manufacturing and assembly of these motors is not within Plaintiffs’

possession, custody, or control. Such information is expected to be within the possession of

Defendants and would only become available to Plaintiffs during discovery. As a result, on

information and belief, further instances of Defendants’ conscious disregard for complying with

the expected and required standards of care will be obtained through discovery.



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F.       Plaintiffs’ Damages

         68.   FLIQ3 has incurred damages, costs, losses, and expenses as a result of the failure

of the 75 MW motor on Train 3 and Contractor’s failure to comply with its obligations and

Warranties under the EPC Contracts, including investigatory and repair costs, removal and

transportation costs for the 75 MW motor to be taken from its installed location to and from the

off-site facility for repairs, costs to install a spare 75 MW motor into Train 3, and other costs and

expenses incurred by FLIQ3 as a result of the Defects. FLIQ3 also incurred additional damages,

costs, losses and expenses to carry out preventative maintenance on the other Train 3 motors.

         69.   FLIQ1 and FLIQ2 have or will incur similar damages, costs, losses and expenses

as a result of the Contractor’s failure to comply with its obligations and Warranties under the EPC

Contracts in connection with the motors on Trains 1 and 2.

         70.   Because of Defendants’ breaches, it has been necessary for Plaintiffs to retain the

undersigned attorneys to prosecute this claim.

         71.   All conditions precedent to filing this action have or will soon occur.

                                   V.    CAUSES OF ACTION

A.       Breach of the EPC Contracts

         72.   Plaintiffs incorporate and reallege the preceding allegations as if fully set forth

below.

         73.   Plaintiffs entered into the EPC Contracts with Defendants, which constitute valid

and enforceable contracts.

         74.   Defendants have breached their substantive performance obligations under Articles

2 and 3 of the EPC Contracts, as well as their Warranty obligations under Article 12 of the EPC

Contracts, by at least the following acts and omissions of Contractor or its subcontractors:



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               a.      deficient bolt/washer/nut retention assembly design and its inadequate

                       quality assurance/quality control during assembly,

               b.      excessive cable length and increased bend radius of cabling resulting in

                       significant partial discharge on the cable bundles,

               c.      deficient bolt assemblies, causing the bolts to become dislodged from the

                       micarta panels and separation of the micarta panels themselves, and

               d.      dissimilar and improper unspecified materials used in the fabrication of the

                       motors.

       75.     Defendants’ and their subcontractors’ acts and omissions constitute a breach of

their obligations under the EPC Contracts, including, inter alia, the obligations to:

               a.      perform engineering, design, manufacture and fabrication “in accordance

                       with the requirements of this Agreement” under Section 3.1A;

               b.      “perform the Work in accordance with GECP” under Section 3.1A, which

                       includes “reasonable and prudent practices, methods, skill, care, techniques

                       and standards” for the engineering, design and construction of LNG

                       facilities;

               c.      “procure” and “assemble, erect and install all Equipment” under Section

                       3.2A;

               d.      “provide … inspection and quality control services” under Section 3.2B;

               e.      inspect the Work of their Subcontractors and “ensure that such work meets

                       all the requirements of this Agreement” under Section 3.2D;

               f.      “perform, or cause to be performed, all design and engineering Work in

                       accordance with this Agreement” under Section 3.2R and the equivalent



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                        language of Section 3.3A;

                g.      comply with their Warranty that the Equipment and each component thereof

                        shall be “new, complete and of suitable grade for the intended function and

                        use in accordance with this Agreement” under Section 12.1B(1);

                h.      comply with their Warranty that the Equipment and each component thereof

                        shall be “in accordance with all of the requirements of this Agreement,

                        including in accordance with GECP” under Section 12.1B(2); and

                i.      comply with their Warranty that the Equipment and each component thereof

                        shall be “free from defects in design, material and workmanship” under

                        Section 12.1B(3).

        76.     Plaintiffs have been damaged and are entitled to recover all amounts caused by

Defendants’ breaches of the EPC Contracts.

        77.     In addition, because Defendants’ and their subcontractors’ acts and omissions

constitute gross negligence, Plaintiffs are entitled to recover their lost profits.

        78.     Because of Defendants’ breaches, it has been necessary for Plaintiffs to retain the

undersigned attorneys to prosecute this claim. Pursuant to Texas Civil Practice & Remedies Code

§ 38.001, Plaintiffs are entitled to recover its reasonable and necessary attorneys’ fees.

                                  VI.     REQUEST FOR RELIEF

        79.     Plaintiffs respectfully requests that they be granted judgment including the

following relief:

                a.      all damages caused by Defendants’ breaches of the EPC Contracts;

                b.      pre-judgment and post-judgment interest at the highest allowable rate;

                c.      costs and reasonable and necessary attorneys’ fees; and

                d.      all other relief to which Plaintiffs are entitled.

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                                            Respectfully Submitted,

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                                            LIQUEFACTION 2, LLC; AND FLNG
                                            LIQUEFACTION 3, LLC



                               CERTIFICATE OF SERVICE

       I certify that on December 3, 2024, I caused a true and correct copy of the foregoing
document to be served by the Electronic Case Filing System for the United States Bankruptcy
Court for the Southern District of Texas on all parties registered to receive notice through the
Court’s ECF service.


                                            s/ Mike Stenglein
                                            Mike Stenglein




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